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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BATTLE BORN MUNITIONS INC.,                         )
                                                    )
                                                    )                2:18-CV-01418-CCW
                Plaintiff,                          )
                                                    )
        v.                                          )
                                                    )
DICK'S SPORTING GOODS, INC.,                        )
                                                    )
                                                    )
                                                    )
                Defendant.                          )

                                      JUDGMENT ORDER

       In light of the parties’ joint stipulation, ECF No. 164, and the parties’ joint status report,

ECF No. 166, there are no further pending matters to be resolved in this action.

       FINAL JUDGMENT is hereby entered in favor of Plaintiff Battle Born Munitions Inc.,

and against Dick’s Sporting Goods, Inc., pursuant to Rule 58 of the Federal Rules of Civil

Procedure in the amount of $123,070. Each party shall bear its own costs.

       IT IS SO ORDERED.



       DATED this 2nd day of December, 2021.



                                              BY THE COURT:


                                              /s/ Christy Criswell Wiegand
                                              CHRISTY CRISWELL WIEGAND
                                              United States District Judge




cc (via ECF email notification):

All Counsel of Record
